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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF VERMONT

ALLY BANK,                                 )
                                           )
               Plaintiff,                  )
                                           )
               v.                          )
                                           )
STEPHEN W. WEBSTER, in his                 )
capacity as administrator of the Estate of )
Peter James Lynch,                         )     Case No. 2:19-cv-21
                                           )
and                                        )
                                           )
BEST FRIENDS ANIMAL SOCIETY,               )
INC.,                                      )
                                           )
        Defendants.                        )
                                           )
                STIPULATION FOR DISTRIBUTION AND DISMISSAL

      The parties to this action, by and through their undersigned counsel, hereby STIPULATE

and AGREE as follows:

   1. The funds deposited by Ally Bank into the Court’s registry on August 28, 2020 in the

      amount of $274,055.47 and any accrued interest shall be disbursed as follows:

          a. A check in the amount of One Hundred Twenty-Four Thousand Dollars

             ($124,000.00) shall be issued to “Best Friends Animal Society”, and delivered to

             its counsel, Clint R. Hansen, Esq., FabianVanCott, 215 South State Street, Suite

             1200, Salt Lake City, UT 8411-2323.

          b. A check in the amount of the balance of the funds deposited with the Court shall

             be issued to “Stephen W. Webster, in his capacity as Administrator of the Estate

             of Peter James Lynch,” and delivered to his counsel, Stephen D. Ellis, Esq., Paul

             Frank + Collins P.C., One Church Street, PO Box 1307, Burlington, Vermont

             05402.



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   2. This action shall be DISMISSED WITH PREJUDICE as to all claims which are, were, or

      could have been asserted herein, each party to bear its own costs and attorneys’ fees.

          Plaintiff Ally Bank

          By: /s/ John C. Lynch
          John C. Lynch, Esq.
          Troutman Pepper Hamilton Sanders LLP
          222 Central Park Avenue, Suite 2000
          Virginia Beach, VA 23462
          Date     10/06/2020

          By: /s/ Shannon Lamb
          Shannon Lamb, Esq.
          Pratt Vreeland Kennelly Martin & White, Ltd.
          64 North Main Street
          P.O. Box 280
          Rutland, VT 05702-0280
          Date 10/06/2020

          Defendant Stephen W. Webster, in his capacity as
          administrator of the Estate of Peter James Lynch
          By: /s/ Stephen D. Ellis
          Stephen D. Ellis, Esq.
          Paul Frank + Collins P.C.
          One Church Street
          Burlington, VT 05402-1307
          Date 10/06/2020

          Defendant Best Friends Animal Society a/k/a Best
          Friends Animal Sanctuary
          By: /s/ Scott McGee
          P. Scott McGee, Esq.
          Hershenson, Carter, Scott & McGee
          PO Box 909
          Norwich, VT 05055
          Date 10/06/2020


APPROVED and SO ORDERED:                                   /s/ William K. Sessions III
                                                           William K. Sessions III
                                                           U.S. District Judge
Date: October 7, 2020



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